Case 1:22-cv-00618-DCJ-JPM Document 8 Filed 05/05/22 Page 1 of 5 PageID #: 23



                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

JASON and NAOMI TULLOS,                               §
                                                      §
                      Plaintiffs,                     §
vs.                                                   §
                                                      § Civil Action No. 1:22-cv-618-DCJ-JPM
AEGIS SECURITY INSURANCE COMPANY                      §
                                                      §
                      Defendant.                      §

                                      RULE 26(f) REPORT

 Trial Date: N/A

 Pretrial Conference Date: May 12, 2022, at 1:30 pm

 Type of Trial: ☒ JURY         ☐ BENCH

 Estimated length of trial is unknown court days.

 1. Participants:

 BRIAN J. HOUGHTALING, BAR NO. 30258
 Houghtaling Law Firm LLC
 3500 North Hullen Street
 Metairie, LA 70002
 Telephone: (504) 456-8629
 Facsimile:     (877) 448-5339
 brian@houghtalinglaw.com
 Attorney for Plaintiffs, Jason and Naomi Tullos

RODNEY J. LACOSTE, JR., BAR NO. 19659
JAMES H. JOHNSON, BAR NO. 35848
Perrier & Lacoste, LLC
One Canal Place
365 Canal Street, Suite 2550
New Orleans, Louisiana 70130
Telephone:      (504) 212-8820
Facsimile:      (504) 212-8825
rlacoste@perrierlacoste.com
jjohnson@perrierlacoste.com
Attorney for Defendant, Aegis Security Insurance Company
Case 1:22-cv-00618-DCJ-JPM Document 8 Filed 05/05/22 Page 2 of 5 PageID #: 24



2. Affirmation Regarding Initial Disclosures:

   The parties have not yet completed initial disclosures.

3. Jurisdictional Basis:

   The parties agree that subject matter jurisdiction exists pursuant to 28 U.S.C. § 1332 (a)(1).

4. Brief Description of Claims:

   A. Plaintiffs’ Claims: Plaintiffs own property located at 2224 Marye Street, Alexandria,
      Louisiana 71301. On or about August 27, 2020 and October 9, 2020, Plaintiffs had in place
      a contract with Aegis Security Insurance Company to provide a homeowner’s insurance
      policy, policy number 0111165771. On August 27, 2020, Hurricane Laura made landfall
      on southeast Louisiana with 150 mph winds. The event caused widespread devastation and
      damage, including damage to Plaintiffs’ residence. On October 9, 2020, Hurricane Delta
      made landfall on southeast Louisiana with 143 mph winds. The event, again, caused
      widespread devastation and damage, including damage to the residence. Despite more than
      a sufficient proof of loss, Plaintiffs contend Aegis Security failed to timely and adequately
      tender payment under the Policy. Aegis’ failure to timely provide adequate payment for a
      clearly covered loss is a violation of the Policy andof Louisiana law, specifically La. R.S.
      22:1892 and La. R.S. 22:1973.

       B.     Defendant’s Claims: Aegis retained Coast to Coast Claim Services, LLC (“Coast
       to Coast”) to inspect and estimate the damage caused to the insured property after wind
       damage on 01/08/2021. Insured’s counsel states the damages were a result of Hurricane
       Delta on 10/09/2020. Coast to Coast inspected the insured’s property on 01/22/2021 and
       found no covered damages to the risk, and therefore no estimate for repairs was prepared.
       The adjuster opined the damages were the result of a combination of the age of the structure
       and previous repairs performed 14 years prior to the slate roof. On 02/9/2021, a denial
       letter was sent to the insureds. On 07/07/2021, Coast to Coast reinspected the property but
       did not commit to the scope of damages, which were long-term damages and not storm-
       created damages. On 07/27/21, a partial payment of $736.20 for Coverage A, and a re-
       inspection estimate were sent to insured’s counsel. On 08/25/2021, Aegis sent a letter to
       Insured’s counsel requesting additional correspondence for claim.

5. Brief Statement of Responses:

   Aegis Security filed its answer in this Court on April 7, 2022.

6. Anticipated Amendments to Pleadings and Motions:

   None at this time.
Case 1:22-cv-00618-DCJ-JPM Document 8 Filed 05/05/22 Page 3 of 5 PageID #: 25



7. Anticipated Expert Witnesses:

   Plaintiffs may call any of the following:
       • A representative of Damage Reports, LLC;
       • Any and all engineers retained to inspect the property;
       • Any and all contractors who have performed work on the property or who may
           be retained to perform work in the future.

   Defendants may call any of the following:

      •   David Sayers; 4507 North Front Street, Suite 200, Harrisburg, PA 17110, (717) 409-
          3095; dsayers@aegisfirst.com; Aegis Security Insurance Company; Core Claims
          Supervisor; employed by Aegis;

      •   Lennie Castellaneta; 4507 North Front Street, Suite 200, Harrisburg, PA 17110, (717)
          409-3076; lcastellaneta@aegisfirst.com; Aegis Security Insurance Company;
          California Property Claims Supervisor; employed by Aegis;

      •   CTC Claims Services, Inc.; 109 Joliet Street, New Iberia, LA 70563 [principal place of
          business], (337) 376-8809 [primary phone number]; a Louisiana Company;
          www.ctcclaims.com.

      •   Associated Adjusters Network; 141 Quaker Way, Knoxville TN 37920 [principal place
          of business]; (865) 573-7923[primary phone number];
          www.associatedadjustersnetwork.com.

      •   Kyle Smaltz; 4507 North Front Street, Suite 200, Harrisburg, PA 17110; (717) 409-
          3039; Claims Examiner, employed by Aegis Security Insurance Company

      •   Jeremy Munnerlyn, (225) 413-8247; jmunnerlynctc@gmail.com; self-employed field
          adjuster

      •   Steve Ables; (337) 849-9154; sablespride@gmail.com; CAT adjuster; IA with
          Associated Adjusters Network.

      •   Phillip Mann; Aegis Security Insurance Company; Underwriting Supervisor.

8. Discovery Plan:

   The parties have not yet propounded initial written discovery. The parties desire for the Court
   to adopt Judge Cain’s Case Management Order applicable to Hurricane Laura and Delta claims
   and, pursuant thereto, refer the case to Special Master Patrick Juneau.
Case 1:22-cv-00618-DCJ-JPM Document 8 Filed 05/05/22 Page 4 of 5 PageID #: 26



9. Stipulations:

   None at this time.

10. Major Issues of Fact and Law in Dispute:

   Breach of contract
   Bad faith claims adjusting
   Negligent claims adjusting
   Intentional affliction of emotional distress
   Negligent infliction of emotional distress
   Amount of damages in controversy
   Date of loss
   Cause of loss
   Scope of damages
   Coverage of claimed loss

11. Related Case Information:

   None.

12. Alternative Dispute Resolution (ADR):

   The parties agree that a settlement conference could be productive. The parties desire for the
   Court to adopt Judge Cain’s Case Management Order applicable to Hurricane Laura and Delta
   claims and, pursuant thereto, refer the case to Special Master Patrick Juneau.

13. Rule 16 Conference:

   The parties do not anticipate a Rule 16 conference is needed at this time.

14. Electronic Courtroom:

   This case will not be document intensive. The policy, photographs, and estimates may be
   shown.

15. Electronically Generated Exhibits or Aids:

   The parties may use electronically generated exhibits or aids and will timely exchange those
   exhibits or aids before they are used.

16. Handicap Provisions:

   Handicap provisions are not required for the parties.
Case 1:22-cv-00618-DCJ-JPM Document 8 Filed 05/05/22 Page 5 of 5 PageID #: 27



                                             Respectfully submitted,

                                             HOUGHTALING LAW FIRM, LLC

                                             s/Brian J. Houghtaling
                                             BRIAN J. HOUGHTALING, Bar No. 30258
                                             3500 North Hullen Street
                                             Metairie, LA 70002
                                             Telephone: (504) 456-8629
                                             Facsimile:    (877) 448-5339
                                             ATTORNEY FOR PLAINTIFFS
                                             brian@houghtalinglaw.com

                                             and

                                            /s/ Rodney J. Lacoste, Jr.
                                            RODNEY J. LACOSTE, JR., #19659
                                            JAMES H. JOHNSON, #35848
                                            Perrier & Lacoste, LLC
                                            One Canal Place
                                            365 Canal Street, Suite 2550
                                            New Orleans, Louisiana 70130
                                            rlacoste@perrierlacoste.com
                                            jjohnson@perrierlacoste.com
                                            Tel: (504) 212-8820
                                            Fax: (504) 212-8825
                                            ATTORNEYS FOR DEFENDANT, AEGIS
                                            SECURITY INSURANCE COMPANY

                                CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2022, a copy of the above and foregoing was served on all

counsel of record by the electronic filing system/ ECF.


                                             s/Brian J. Houghtaling
                                             BRIAN J. HOUGHTALING
